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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                 PORTLAND DIVISION


 Nike, Inc.,

          Plaintiff,                                   Civil Action No. 3:21-cv-1780

 v.                                                    JOINT NOTICE OF DISMISSAL

 adidas AG, adidas North America, Inc., and
 adidas America, Inc.

          Defendants.


         Comes now, Plaintiff Nike, Inc. (“Plaintiff”) and Defendants adidas AG, adidas North

America, Inc., and adidas America, Inc. (“Defendants”) hereby notify the Court, pursuant to Rule

41(a)(1) of the Federal Rules of Civil Procedure, that they have reached a settlement of the matter

in litigation such that the case is dismissed without prejudice, each party to bear its own attorneys’

fees and costs.


DATED: August 16, 2022                            Respectfully submitted,

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